 1   Marc S. Stern                                               Hon. Marc Barreca
     1825 NW 65th Street                                         Chapter 7
 2   Seattle, WA 98117                                           Hearing Date: Friday June 20, 2014
     (206) 448-7996                                              Hearing Time: 9:30 a.m.
 3   marc@hutzbah.com                                            Hearing Location: Seattle Courthouse
 4

 5

 6
                            UNITED STATES BANKRUPTCY COURT
 7                      WESTERN DISTRICT OF WASHINGTON AT SEATTLE
 8
     In re:                                            NO. 10-23826-MLB
 9
     Michelle Catherine Merceri,                       DEBTOR’S MOTION IN LIMINE TO
10                                                     INCLUDE PURPORTED ATTORNEY
                 Debtor.                               WORK PRODUCT AND PURPORTED
11   _______________________________                   COMMON INTEREST DOCUMENTS
12

13

14            Debtor Michelle Merceri (“Merceri”), by and through counsel, states:
15                          1. INTRODUCTION AND RELIEF REQUESTED
16            Merceri seeks to admit e-mail messages between Defendant Matt Adamson (“Adamson”)
17
     and Rory Livesey, attorney for Trustee Ron Brown, as evidence at the evidentiary hearing in this
18
     matter. Adamson agrees that at least some of the e-mail messages are not work product or
19

20   common interest because he waived them, but challenges the scope of the waiver. He has stated

21   he intends to request that the Court review the documents in camera when this motion is argued.
22
     Merceri only learned of these e-mails and the purported work product and common interest
23
     privileges at midday on Wednesday, June 19, 2014 and continued (unsuccessfully) to negotiate
24
     this issue until close of business Wednesday. Though this motion is unavoidably late, Adamson
25

26   MOTION IN LIMINE - 1                                                            Susan L. Fullmer
                                                                                      Attorney at Law
                                                                                    1825 NW 65th Street
27
                                                                                 Seattle, Washington 98117
                                                                                       (206) 567-2757
28




      Case 10-23826-CMA          Doc 234     Filed 06/19/14    Ent. 06/19/14 18:17:53        Pg. 1 of 8
     and Jones are not prejudiced, because the e-mail between the parties stated the basic facts and
 1

 2   law supporting Merceri’s position stated in this motion in limine, and Adamson stated his

 3   intention to argue this motion at the beginning of the hearing. See Fullmer Decl., Ex. A.
 4
     Additionally, Jones and Adamson could have provided this information on Friday, June 13, as
 5
     Adamson stated in a response brief that they were completed weeks ago.
 6

 7                                                    2. FACTS
 8           2.1.     On or about February 14, Merceri filed her Motion for Contempt. In it, she
 9   alleged that Adamson had “in an attempt to have her bankruptcy dismissed, contacted the trustee’s
10   attorney Rory Livesey “Livesey” falsely alleging Merceri ws attempting to “scam” and “defraud” the
11   trustee.1 Dkt. 164 at 5. Her overall allegation was that Jones and Adamson had tried to get money
12   for the WSDOT proceeds, to which Jones is not entitled, and which was the subject of Adamson’s
13   extrajudicial communications. See generally Dkt. 164.
14           2.2.     Adamson filed the response on behalf of himself and Jones, which stated that he
15   contacted Livesey
16                    to inform the trustee of estate assets that a debtor is hiding, and asking the
                      trustee about those assets.
17

18           2.3.     Jones’ Response, Dkt. # 170 at 17. Jones’ response was supported by Adamson’s
19   declaration and its exhibits (see Dkt. #170 at 17:9, attached hereto as Exhibit 1), which stated that he
20   had contacted Livesey
21
                      to disclose what I believed to be assets of the estate that were not listed on
22                    debtor’s scheduled and asked for the trustee’s position on those assets. This
                      was an attempt to get the trustee’s position on assets of the estate that might
23
                      be available to creditors. It was not an attempt to collect a debt from debtor.
24
     1
25
         As Adamson and Jones now know, Merceri and her attorneys did not know of the actual successful Fisher
     litigation until post petition and well after the abandonment motion.
26   MOTION IN LIMINE - 2                                                                       Susan L. Fullmer
                                                                                                  Attorney at Law
                                                                                                1825 NW 65th Street
27
                                                                                             Seattle, Washington 98117
                                                                                                   (206) 567-2757
28




         Case 10-23826-CMA          Doc 234       Filed 06/19/14        Ent. 06/19/14 18:17:53           Pg. 2 of 8
 1   Adamson Declaration, Dkt. #171 at 6. Adamson’s Exhibit 1 was his January 7, 2014 letter to
 2   Livsey, in which he alleged that Merceri and her attorneys, and purported to ask Livesey
 3   “whether it would be a violation of the automatic stay to pursue or collect any of those
 4   proceeds.” Dkt. #171-1, at 4.
 5           1.1.     Immediately after this Court’s strong suggestion on March 7, 2014 that the parties
 6   mediation the various disputes, Merceri requested and arranged mediation. The parties attended
 7   mediation on April 2, 2014. The mediation was not successful.
 8           1.2.     On or about April 23, 2014, Merceri submitted discovery requests to Adamson
 9   and Jones.2
10           1.3.     On May 7, 2014, King County Superior Court judge Helen Halpert ordered the
11   parties back to mediation. Fullmer Decl., Ex. C, Clerk’s Minutes, pg. 4.
12           1.4.     In response, Adamson stated that the bankruptcy contempt motion was a barrier to
13   settlement.

14           1.5.     That afternoon, Debtor’s attorney Marc Stern (“Stern”) offered to strike the

15   hearing. This Court’s order requires both parties agree to continue the hearing. Adamson never

16   responded regarding the motion to strike and resisted all efforts to return to mediation.

17           1.6.     On May 19, 2014, the Court issued a preliminary order again suggesting the

18   parties return to mediation.3

19           1.7.     On May 22, 2014, believing the parties had agreed to withdraw the motion for

20   contempt, and after a direct question by Adamson, Stern withdrew his discovery requests. He

21   also stated that unless he heard otherwise, he would assume Adamson was withdrawing his

22   discovery request as well.

23
     2
       Merceri’s attorney asked Adamson via e-mail if Jones’ discovery requests should be sent to a different attorney.
24
     Adamson replied that they should be sent to Adamson.
     3
25
       Adamson preemptively drafted the preliminary order, and changed the Court’s Order to a suggestion, which the
     judge then signed.
26   MOTION IN LIMINE - 3                                                                          Susan L. Fullmer
                                                                                                    Attorney at Law
                                                                                                  1825 NW 65th Street
27
                                                                                               Seattle, Washington 98117
                                                                                                     (206) 567-2757
28




         Case 10-23826-CMA           Doc 234       Filed 06/19/14         Ent. 06/19/14 18:17:53           Pg. 3 of 8
 1            1.8.    Adamson then objected to the motion. In his response and in an attempt to get
 2   attorney’s fees, Adamson stated that at the time the discovery requests were withdrawn, he had
 3   already completed the discovery responses.
 4            1.9.    At the hearing on the matter on June 13, 2014 Merceri withdrew her motion to
 5   withdraw the §524 action, and opted to go forward with the evidentiary hearing.
 6            1.10.   That afternoon, Merceri served Adamson and Jones with her discovery requests.
 7            1.11.   On Tuesday, June 17, 2014, the day motions in limine were due, Jones and
 8   Adamson served Merceri with their discovery requests. Neither Adamson nor Jones produced
 9   any documents, but claimed some kind of privilege for virtually every request.4 They did not
10   produce any privilege logs.
11            1.12.   Specifically with regard to a response regarding Adamson’s communications with
12   Rory Livesey, Adamson claimed work product privilege and common interest privilege.
13            1.13.   After several e-mail exchanges, on Wednesday afternoon June 18, 2014,

14   Adamson finally provided a privilege log for the communications with Rory Livesey, attorney

15   for Trustee Ron Brown. Fullmer Decl., Ex. B, reproduced here in chronological order:
          Document                 Parties                             Nature/Subject Matter
16
          December 7, 9, 12,       Rory Livesey and Matt               WSDOT claim and whether
17
          2013 & January 3,        Adamson                             trustee can pursue revocation of
          2014                                                         abandonment of Hunts Point
18                                                                     property with attached case law
                                                                       and WSDOT letters
19        January 15, 2014         Rory Livesey and Matt               WSDOT claim as collateral for
                                   Adamson                             loan
20
          March 8, 2014            Rory Livesey and Matt               Whether WSDOT claim runs with
21
                                   Adamson                             the land with case law
          March 11, 2014           Rory Livesey and Matt               Identity of loan servicer
22                                 Adamson
          April 3, 2014            Rory Livesey and Matt               Statute of limitations for WSDOT
23                                 Adamson                             Claim
          April 14, 2014           Rory Livesey and Matt               Common Interest Privilege
24
     4
25
       Adamson stated he had some documents available for inspection and copying. When Ms. Fullmer stated she
     wanted to do so, Adamson then e-mailed a total of 12 pages of documents.
26   MOTION IN LIMINE - 4                                                                    Susan L. Fullmer
                                                                                               Attorney at Law
                                                                                             1825 NW 65th Street
27
                                                                                          Seattle, Washington 98117
                                                                                                (206) 567-2757
28




         Case 10-23826-CMA         Doc 234       Filed 06/19/14      Ent. 06/19/14 18:17:53           Pg. 4 of 8
                                 Adamson
 1
        April 23, 2014           Rory Livesey and Matt              Opposition to Merceri Motion re
 2                               Adamson                            WSDOT claim with attached case
                                                                    law
 3      May 5, 2014 emails       Rory Livesey and Matt              Adversary Proceeding Against
                                 Adamson                            Merceri et al re WSDOT
 4

 5
            1.14.   Adamson agrees that he and Jones waived the privilege, but he believes the scope
 6
     of the waiver will be contested.
 7                                            ISSUES
 8
             1.    Did Adamson and Jones waive the work product and common interest
 9   privileges when they filed the January 7, 2014 letter to Livesey?
10           2.     Are Adamson and Jones precluded from asserting a common interest
     privilege when Jones has no equity interest in the subject property and has not filed a
11   proof of claim?
12           3.    Are Adamson and Jones precluded from asserting the work product
     privilege when Adamson’s communication with Jones was not part of his representation
13   of Jones?
14
                                             ARGUMENT
15

16          1.     Adamson and Jones waived the work product and common interest
     privileges when they filed the January 7, 2014 letter to Livesey.
17

18          FRE 502 provides that a waiver of work-product applies:
19          a) When the disclosure is made in a federal proceeding or to a federal office or agency

20   and waives the attorney-client privilege or work-product protection, the waiver extends to an

21   undisclosed communication or information in a federal or state proceeding only if:

22          (1) the waiver is intentional;

23          (2) the disclosed and undisclosed communications or information concern the same

24   subject matter; and

25          (3) they ought in fairness to be considered together.

26   MOTION IN LIMINE - 5                                                            Susan L. Fullmer
                                                                                       Attorney at Law
                                                                                     1825 NW 65th Street
27
                                                                                  Seattle, Washington 98117
                                                                                        (206) 567-2757
28




     Case 10-23826-CMA          Doc 234      Filed 06/19/14     Ent. 06/19/14 18:17:53         Pg. 5 of 8
 1   See also In re Circle K Corp., 199 B.R. 92, 100 (Bankr.S.D.N.Y.1996) ("The holder of the work
 2   product privilege waives it only by voluntarily disclosing it in such a manner that it is likely to be
 3   revealed to its adversary.") There is no question that the waiver was intentional and that it
 4   revaled it to Merceri. Jones and Adamson filed the January 7 letter via ECF in this Court in this
 5   proceeding. The privilege log shows that the subject of the undisclosed e-mails is the same as
 6   the January 7 letter, i.e. hiding assets and the WSDOT proceeds. In fairness to Merceri, they
 7   ought to be considered together.
 8
             2.     Jones and Adamson are precluded from asserting a common interest
 9
     privilege because when Jones has no equity interest in the subject property and has not
10   filed a proof of claim.

11
              The Ninth Circuit has long recognized that the joint defense privilege is "an extension of
12
     the attorney-client privilege." United States v. Henke, 222 F.3d 633, 637 (9th Cir.2000); see also
13
     United States v. Schwimmer, 892 F.2d 237, 243 (2d Cir.1989) (‘[t]he common interest privilege
14
     “serves to protect the confidentiality of communications passing from one party to the attorney
15
     for another party where a joint defense effort or strategy has been decided upon and undertaken
16
     by the parties and their respective counsel.” ) The privilege is also referred to as the "common
17
     interest" privilege or doctrine, and it applies whether the jointly interested persons are defendants
18
     or plaintiffs. In re Grand Jury Subpoenas, 902 F.2d 244, 249 (4th Cir.1990).
19
              But Jones and the Trustee can not have a common interest. Jones agreed (finally) at trial
20
     in the quiet title proceeding and that court found that the parties never intended for him to have
21
     an equity interest in the subject Property, i.e. one that entitled him to equity or proceeds. This
22
     negates any argument that Jones is entitled to the WSDOT proceeds.5
23

24   5
       Jones may continue to allege that his goal was to ensure Merceri and her attorneys do not “convert” the lender’s
25   proceeds, and they get their due, but Adamson does not represent the lender, and their proposition is contradicted by
     the deed of trust itself.
26   MOTION IN LIMINE - 6                                                                           Susan L. Fullmer
                                                                                                     Attorney at Law
                                                                                                   1825 NW 65th Street
27
                                                                                                Seattle, Washington 98117
                                                                                                      (206) 567-2757
28




         Case 10-23826-CMA           Doc 234        Filed 06/19/14        Ent. 06/19/14 18:17:53            Pg. 6 of 8
 1          Further, neither Adamson nor Jones has alleged that the communications between
 2   Adamson and Livesey were statements Jones made to Adamson. See United States v. Graf, 610
 3   F.3d 1148, 1156 (9th Cir.2010) (party asserting the attorney-client privilege has the burden of
 4   establishing the existence of the relationship and the privileged nature of the communication).
 5   Further, pursuant to the privilege log, Jones and Livesey apparently did not discuss a comment
 6   interest until April 14, 2014. Jones and Adamson cannot belatedly invoke a privilege to hide
 7   their communications with Livesey.
 8          Adamson and Jones waived the common interest privilege by filing the January 7 letter to
 9   Livesey with this Court. Livesey, who receives ECF notifications of filings, failed to object, and
10   thus also waived the common interest privilege. See United States v. BDO Seidman, LLP, 492
11   F.3d 806, 817 (7th Cir.2007) (The " privileged status of communications falling within the
12   common interest doctrine can be waived with the consent of all of the parties”); John Morrell &
13   Co. v. Local Union 304A, 913 F.2d 544, 556 (8th Cir.1990).

14          Pursuant to FRE 502, Merceri is entitled to undisclosed communications with the same

15   subject matter, i.e. the e-mails between Adamson and Livesey.

16           3.      Adamson and Jones are precluded from asserting the work product privilege
     because Adamson’s communication with Jones was not part of his representation of Jones
17   in the quiet title action.
18          Discovery in bankruptcy adversary proceedings is governed by the Federal Rules of Civil
19   Procedure. See FED.R.BANKR.P. 7026-7037. Applicable to this controversy is Federal Rule of
20   Civil Procedure 26(b)(1), which provides:
21                  Parties may obtain discovery regarding any matter, not privileged, which
                    is relevant to the subject matter involved in the pending action, whether it
22                  relates to the claim or defense of the party seeking discovery or to the
23
                    claim or defense of any other party, including the existence, description,
                    nature, custody, condition, and location of any books, documents, or other
24                  tangible things and the identity and location of persons having knowledge
                    of any discoverable matter. The information sought need not be admissible
25

26   MOTION IN LIMINE - 7                                                           Susan L. Fullmer
                                                                                      Attorney at Law
                                                                                    1825 NW 65th Street
27
                                                                                 Seattle, Washington 98117
                                                                                       (206) 567-2757
28




     Case 10-23826-CMA          Doc 234     Filed 06/19/14     Ent. 06/19/14 18:17:53        Pg. 7 of 8
                     at the trial if the information sought appears reasonably calculated to lead
 1
                     to the discovery of admissible evidence
 2

 3   FED.R.CIV.P. 26(b)(1). Thus, the general rule is that litigants are entitled to discover

 4   information that "appears reasonably calculated to lead to the discovery of admissible evidence."

 5   Id. Ordinarily, a party may not discover documents and tangible things that are prepared in

 6   anticipation of litigation or for trial by or for another party or its representative (including the

 7
     other party's attorney, consultant, surety, indemnitor, insurer, or agent)." FED.R.EVID. P.

 8
     26(b)(3)(A). Stated another way, materials produced in the ordinary course of business are not

 9
     protected work product. Equity Residential v. Kendall Risk Mgmt., Inc., 246 F.R.D. 557, 564

10
     (N.D.Ill.2007). Thus, a party asserting the privilege must establish work-product protection,

11
     Allendale Mut. Ins. Co. v. Bull Data Sys., Inc., 152 F.R.D. 132, 137 (N.D.Ill.1993).

12           Adamson’s February 28 declaration clearly states his purpose in contacting Livesey: to
13   report that Merceri and her attorneys were allegedly hiding assets. Adamson does not represent
14   Jones in the bankruptcy. Jones is not a creditor, so he would not be a party to any litigation by
15   the Trustee. Jones now asserts he agrees he is entitled to no equity and no proceeds, so the
16   communications were not related to the quiet title action. Jones and Adamson were, at best,
17   fomenters, and the e-mails were in the ordinary course of business. Thus, the communications
18   are not protected by attorney work product.
19                                                  CONCLUSION
20           For the foregoing reasons, Adamson’s communications with Livesey are not protected by
21   any privilege and may be admitted as evidence.
22           Dated this 19th day of June, 2014.
                                                             /s/Susan Lynne Fullmer
23
                                                             Susan Lynne Fullmer
24                                                           WSBA #43747
                                                             1825 NW 65th Street
25                                                           Seattle, WA 98117
26   MOTION IN LIMINE - 8                                                                Susan L. Fullmer
                                                                                           Attorney at Law
                                                                                         1825 NW 65th Street
27
                                                                                      Seattle, Washington 98117
                                                                                            (206) 567-2757
28




     Case 10-23826-CMA            Doc 234      Filed 06/19/14      Ent. 06/19/14 18:17:53         Pg. 8 of 8
